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   12   UNICLASS TECHNOLOGY CO. LTD., ET AL
   13

   14                      UNITED STATES DISTRICT COURT
   15                     CENTRAL DISTRICT OF CALIFORNIA
   16   ATEN TECHNOLOGY, CO. LTD.            No. 2:15-cv-04424-AG-AJW
   17
                            Plaintiff,         DEFENDANTS’ OPPOSITION TO
   18                                          PLAINTIFF’S MOTION IN LIMINE
            vs.                                REGARDING ARGUMENT THAT
   19
                                               THE ATEN/UNICLASS LICENSE
   20   UNICLASS TECHNOLOGY CO.,               AGREEMENT ONLY INCLUDES
        LTD., et al.                           THREE PATENTS
   21
                     Defendants.
   22                                         Hearing Date: June 5, 2017
                                              Hearing Time: 8:30 a.m.
   23
                                              Courtroom:10D
   24                                         Judge: Hon. Andrew Guilford
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    1         Defendants submit this Opposition to Plaintiff Aten International Co., Ltd.’s
    2   (“Aten”) Motion In Limine Regarding Argument that the Aten/Uniclass License
    3   Agreement Only Includes Three Patents, Dkt No. 309 (“Motion” or “Motion In
    4   Limine”).
    5      I. INTRODUCTION

    6         Aten’s Motion In Limine is unnecessary because it seeks to prevent

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        discussion of the three patents specifically identified in the Aten/Uniclass License
        Agreement without a discussion that the “plain language of the License Agreement
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        sweeps in all ATEN patents.” Dkt. No. 309 at 2. Aten wishes to ensure that there is
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        not a partial reading of the License Agreement. This argument is misplaced for
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        several reasons. First, the License Agreement is not at issue in this case. That Aten
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        raises this issue now is troubling because Aten has not asserted a claim for breach
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        of contract in any complaint, or for that matter, any other claim, pleading, or motion
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        that would permit the Court to make a determination as to the scope of the License
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        Agreement. Aten should not be seeking any legal determination as to the scope or
   15   efficacy of the License Agreement. Second, use of the existence and content of the
   16   License Agreement for the limited purpose as evidence of its existence and for a
   17   reasonable royalty data point in a Georgia Pacific analysis is proper.
   18         Contrary to these limited relevant and non-prejudicial uses of the License
   19   Agreement as it relates to a reasonable royalty calculation, it now appears that Aten
   20   intends to present evidence and argue to the jury that Defendants breached the
   21   License Agreement. Aten may seek to do this in an effort to substitute its burden of
   22   proof for patent infringement with evidence of an un-asserted breach of contract
   23   claim. As detailed in Defendants’ Motion In Limine to Exclude Any Claim or

   24   Evidence of Breach of Contract, dkt. no. 373, Aten should not be allowed to make

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        statements regarding breach, or any reference to “non-payment under the license”
        or “cessation of payment” or “failure to pay” because this may cause the jury to
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        unfairly believe that Aten can meet its burden to show patent infringement by
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        showing a breach of contract.
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    1          This is a patent infringement suit. The elements and law for breach of
    2   contract are significantly different than patent infringement. There is no claim for
    3   breach of contract. Such statements by Aten would be “substantially outweighed by
    4   a danger of one or more the following: unfair prejudice, confusing the issues,
    5   misleading the jury. . . wasting time. . .” Fed. R. Evid. 403. If Aten wants the Court

    6   to determine the scope of the License Agreement as it relates to a breach of

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        contract, or limit Uniclass’s discussion about the three patents specifically
        identified in the Agreement, it should have done so through alleging such a cause of
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        action in its complaint, and later conducting discovery, and then later filing a
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        motion for summary judgment—not a motion in limine. In sum, Uniclass should be
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        able to discuss all facts and statements made within the License Agreement for the
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        use in rebutting Aten’s damages claims. However, Aten should not be able to
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        imply that the License Agreement was breached.
   13
               Because Aten has made no claim for breach of contract, the use and
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        relevance of the License Agreement should be narrow, such as evidence of a
   15   royalty rate useable by the parties’ respective financial experts.
   16       II. STATEMENT OF MATERIAL FACTS
   17          In 2009, Aten and Uniclass entered into the License Agreement. (Dkt. No.
   18   309, Ex. 1.) That License Agreement specifically identified three patents. (Id.)
   19   Substantial evidence supports the position that any value attributed to the License
   20   was based on the three listed patents as well as the threat of litigation, and nothing
   21   else. (Kuan Dep. at 45:12-13 (Apr. 29, 2015) (“[i]t’s those patents that are indicated
   22   in the agreement, those three U.S. patents”). 1) Aten claims that as a matter of
   23   contract interpretation, the License Agreement encompasses more patents than

   24   those three named patents and that the other unnamed patents must be discussed by

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        Uniclass at trial. (Dkt. No. 309.) Aten is using a motion in limine that could
        prejudicially limit the jury’s ability to consider the evidence. There has been no
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         Defendants are not including the cited reference because it is conceded and noted in Aten’s
   28   Motion in Limine. (See Dkt. 309, p. 2.)       3
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    1   legal determination by the Court as to the scope of the License Agreement.
    2      III.      ARGUMENT
    3                A.       The License Agreement is Relevant as a Part of a Reasonable
                              Royalty Analysis.
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    5         Rule 402 provides a general admissibility of relevant evidence. Rule 401
        defines relevant evidence as evidence that “has any tendency to make a fact more or
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        less probable than it would be without the evidence.” Fed. R. Evid. 401. Evidence
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        regarding the scope of the License Agreement, or which portions of the license
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        provided value to the parties is relevant in undertaking a reasonable royalty analysis
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        to determine damages. If the jury finds that the parties to the License Agreement
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        really only applied weight to the three named patents, then Aten’s assertions
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        regarding alleged damages are substantially less probable.
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              Discussing the relevant provisions of the License Agreement, including the
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        identified patents, and the value attributed to them by Uniclass and Aten has high
   14   probative value and a low risk of “unfair prejudice, confusing the issues, misleading
   15   the jury, undue delay, wasting time or needlessly presenting cumulative evidence.”
   16   See Fed. R. Evid. 403. A jury’s determination of a reasonable royalty would be
   17   hindered if testimony could not be garnered as to the only patents in the License
   18   that were actually identified. Further, the only products that were specifically
   19   named as royalty bearing products are those listed in the exhibits in relation to the
   20   identified patents.     A presentation of the terms of the License including the
   21   identified patents at trial would be appropriate for the purposes of assessing a
   22   royalty. Aten has presented no argument that the prejudice of doing so would

   23   substantially outweigh its probative value.

   24                B.       Aten’s Backdoor Request for a Determination as to the Scope
                              of the License Agreement Should be Rejected.
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              Aten, through its Motion, wants the Court to adopt its interpretation of the
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        legal scope of the License Agreement to include all of Aten’s other patents, beyond
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        just the three identified patents. Perhaps Aten’s request would make sense had it
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    1   filed a claim for breach of contract, and then conducted discovery, and filed a
    2   motion for summary judgment at the appropriate time. However, Aten’s request
    3   was made pursuant to a motion in limine, and is therefore improper. See Amtower v.
    4   Photon Dynamics, Inc. (2008) 158 Cal.App.4th 1582, 1593 (“What in limine
    5   motions are not designed to do is to replace the dispositive motions prescribed by

    6   the Code of Civil Procedure.”); 75 Am. Jur. 2d Trial § 44 (2009) (“The use of

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        motions in limine to summarily dismiss a portion of a claim has been condemned,
        and the trial courts are cautioned not to allow motions in limine to be used as
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        unwritten and unnoticed motions for summary judgment or motions to dismiss.”)
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        Under the Court’s scheduling order, any motions for summary judgment had to be
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        filed by February 10, 2017—more than two weeks before Plaintiff filed this motion
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        in limine. (Compare Dkt. No. 232, p. 2 with Dkt. No. 309.) Furthermore, even if
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        Aten submitted its request as a motion for summary judgment on the issue, there is
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        sufficient evidence to provide a material dispute to the matter. (See Dkt. 309, p. 2.)
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           IV.        CONCLUSION
   15         For the foregoing reasons, the Court must deny Plaintiff’s Motion In Limine.
   16            Dated: May 26, 2017            Respectfully submitted,
   17
                                                /s/ Joseph G. Pia
   18                                           Joseph G. Pia
                                                Attorney for Defendants
   19
                                                UNICLASS TECHNOLOGY CO., LTD.,
   20                                           ELECTRONIC TECHNOLOGY CO., LTD.
                                                OF DONGGUAN UNICLASS,
   21
                                                AIRLINK 101, PHOEBE MICRO INC.,
   22                                           BROADTECH INTERNATIONAL CO.,
                                                LTD. D/B/A/ LINKSKEY, BLACK BOX
   23
                                                CORPORATION, and BLACK BOX
   24                                           CORPORATION OF PENNSYLVANIA
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    1                            CERTIFICATE OF SERVICE
    2         The undersigned hereby certifies that a true and correct copy of the above
    3   and foregoing document has been served on May 26, 2017 to all counsel of record
    4   who are deemed to have consented to electronic service via the Court’s CM/ECF
    5   system per Local Rule CV-5(a)(3).
    6

    7
                                              /s/ Joseph G. Pia
    8                                         Joseph G. Pia
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